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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                      )
 AMERICAN OVERSIGHT,                  )
 1030 15th Street NW, B255            )
 Washington, DC 20005,                )
                                      )
                           Plaintiff, )
                                      )
 v.                                   )
                                      )
 U.S. DEPARTMENT OF                   )
 HOMELAND SECURITY,                   )
 245 Murray Lane SW                   )
 Washington, DC 20528,                )
                                      )                    Case No. 21-3030
 and                                  )
                                      )
                                      )
 U.S. IMMIGRATION                     )
 AND CUSTOMS ENFORCEMENT,             )
 500 12th Street SW                   )
 Washington, DC 20536,                )
                                      )
                                      )
                                      )
                         Defendants. )
                                      )

                                         COMPLAINT

       1.       Plaintiff American Oversight brings this action against the U.S. Department of

Homeland Security, and its related component agency, U.S. Immigration and Customs

Enforcement, under the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”), and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, seeking declaratory and injunctive

relief to compel compliance with the requirements of FOIA.




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                                 JURISDICTION AND VENUE

       2.       This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. §§ 1331, 2201, and 2202.

       3.       Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e)(1).

       4.       Because Defendants have failed to comply with the applicable time-limit

provisions of FOIA, American Oversight is deemed to have exhausted its administrative

remedies pursuant to 5 U.S.C. § 552(a)(6)(C)(i) and is now entitled to judicial action enjoining

the agencies from continuing to withhold agency records and ordering the production of agency

records improperly withheld.

                                            PARTIES

       5.       Plaintiff American Oversight is a nonpartisan, non-profit section 501(c)(3)

organization primarily engaged in disseminating information to the public. American Oversight

is committed to promoting transparency in government, educating the public about government

activities, and ensuring the accountability of government officials. Through research and FOIA

requests, American Oversight uses the information gathered, and its analysis of it, to educate the

public about the activities and operations of the federal government through reports, published

analyses, press releases, and other media. The organization is incorporated under the laws of the

District of Columbia.

       6.       Defendant U.S. Department of Homeland Security (“DHS”) is a department of the

executive branch of the U.S. government headquartered in Washington, DC, and an agency of

the federal government within the meaning of 5 U.S.C. § 552(f)(1). The DHS Privacy Office

coordinates FOIA requests for several DHS components, including the DHS Office for Civil




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Rights and Civil Liberties (“CRCL”). DHS has possession, custody, and control of the records

that American Oversight seeks.

       7.       Defendant U.S. Immigration and Customs Enforcement (“ICE”) is a component

of DHS headquartered in Washington, DC, and an agency of the federal government within the

meaning of 5 U.S.C. § 552(f)(1). ICE has possession, custody, and control of the records that

American Oversight seeks.

                                  STATEMENT OF FACTS

       8.       On March 8, 2021, American Oversight submitted two FOIA requests to DHS and

ICE seeking documents relating to individuals who died during or following their detention by

ICE. For each March 8 request, American Oversight limited its requests to documents post-

dating April 10, 2018, to reduce the volume of responsive records.

                               First Detainee Death Review FOIA

       9.       On March 8, 2021, American Oversight submitted a FOIA request to DHS and

ICE with internal tracking number DHS-21-0309, seeking the following records:

         Copies of the “Detainee Death Review” reports completed by or for ICE Office
         of Professional Responsibility as part of the detainee death reviews for each of
         the following individuals who died in custody.

                1. Gourgen Mirimanian
                2. Roberto Rodrig[ue]z-Espinoza
                3. Roylan Hernandez-Diaz
                4. Anthony Oluseye Akinyemi
                5. Samuelino Mavinga
                6. Ben James Owen
                7. Alberto Hernandez-Fundora
                8. David Hernandez-Colua
                9. Maria Celeste Ochoa-Yoc De Ramirez
                10. Orlan Ariel Carcamo-Navarro
                11. Ramiro Hernandez-Ibarra
                12. Carlos Ernesto Escobar-Mejia
                13. Óscar López Acosta
                14. Choung Woong Ahn
                15. Santiago Baten-Oxlaj


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       10.      On March 24, 2021, DHS assigned the First Detainee Death Review FOIA

request reference number 2021-HQFO-00660 and attached a “final response” letter. DHS stated

that it “conducted a comprehensive search of files within the Office for Civil Rights and Civil

Liberties (CRCL) for records that would be responsive” to the request and “were unable to locate

or identify any responsive records.” DHS further noted that “CRCL advised that U.S.

Immigration and Customs Enforcement (ICE), which has already received your request, is the

appropriate component to handle your request.”

       11.      American Oversight has not received any communication from ICE regarding the

First Detainee Death Review FOIA request. ICE has not assigned a reference number to the

FOIA request.

                    First Healthcare and Security Compliance Analysis FOIA

       12.      On March 8, 2021, American Oversight submitted a FOIA request to DHS and

ICE with internal tracking number DHS-21-0310, seeking the following records:

         Copies of the “Healthcare and Security Compliance Analysis” reports—or
         equivalent internal procedural compliance analysis—completed by or for ICE
         Office of Professional Responsibility as part of the detainee death reviews for
         each of the following individuals who died in custody.

                1. Gourgen Mirimanian
                2. Anthony Oluseye Akinyemi
                3. Samuelino Mavinga
                4. Ben James Owen
                5. Alberto Hernandez-Fundora
                6. David Hernandez-Colua
                7. Maria Celeste Ochoa-Yoc De Ramirez
                8. Orlan Ariel Carcamo-Navarro
                9. Ramiro Hernandez-Ibarra
                10. Carlos Ernesto Escobar-Mejia
                11. Óscar López Acosta
                12. Choung Woong Ahn
                13. Santiago Baten-Oxlaj




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       13.       On March 24, 2021, DHS assigned the First Healthcare and Security Compliance

Analysis FOIA request reference number 2021-HQFO-00661 and attached a “final response”

letter. DHS stated that it “conducted a comprehensive search of files within the Office for Civil

Rights and Civil Liberties (CRCL) for records that would be responsive” to the request and

“were unable to locate or identify any responsive records.” DHS further noted that “CRCL

advised that U.S. Immigration and Customs Enforcement (ICE), which has already received your

request, is the appropriate component to handle your request.”

       14.       American Oversight has not received any communication from ICE regarding the

First Healthcare and Security Compliance Analysis FOIA request. ICE has not assigned a

reference number to the FOIA request.

                                            *    *   *

       15.       On October 12, 2021, American Oversight submitted five FOIA requests to DHS

and ICE seeking documents relating to individuals who died during or following their detention

by ICE.

                                   Root Cause Analysis FOIA

       16.       On October 12, 2021, American Oversight submitted a FOIA request to DHS and

ICE with internal tracking number DHS-21-1423, seeking the following records:

          A complete copy of any ICE Health Service Corps “Event Review,” “Root
          Cause Analysis,” or “Action Plan,” completed for each of the following
          individuals who died in ICE custody:

          1.   Gourgen Mirimanian                             9. Abel Reyes-Clemente
          2.   Roxsana Hernandez                              10. Simratpal Singh
          3.   Huy Chi Tran                                   11. Pedro Arriago-Santoya
          4.   Efraín Romero de la Rosa                       12. Roberto Rodriguez-Espinoza
          5.   Augustina Ramirez-Arreola                      13. Nebane Abienwi
          6.   Wilfredo Padron                                14. Roylan Hernandez-Diaz
          7.   Mergensana Amar                                15. Anthony Oluseye Akinyemi
          8.   Guerman Volkov                                 16. Samuelino Mavinga



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        17. Ben James Owen                                  28. Luis Sanchez-Perez
        18. Alberto Hernandez-Fundora                       29. James Tomas Hill
        19. David Hernandez-Colula                          30. Kuah Hui Lee
        20. Maria Celeste Ochoa-Yoc De                      31. Jose Freddy Guillen Vega
            Ramirez                                         32. Fernando Sabonger-Garcia
        21. Orlan Ariel Carcamo-Navarro                     33. Cipriano Chavez Alvarez
        22. Ramiro Hernandez-Ibarra                         34. Romien Jally
        23. Carlos Ernesto Escobar-Mejia                    35. Anthony Jones
        24. Óscar López Acosta                              36. Felipe Montes
        25. Choung Woong Ahn                                37. Jesse Dean
        26. Santiago Baten-Oxlaj                            38. Diego Fernando Gallego-
        27. Onoval Perez-Montufa                                Agudelo

American Oversight requested that DHS and ICE provide all responsive records from April 10,

2018, through the date the search was conducted.

       17.    On October 12, 2021, DHS assigned the Root Cause Analysis FOIA request

reference number 2022-HQFO-00048 and updated the status of the FOIA request to “Received.”

On October 15, 2021, the DHS Privacy Office transferred the Root Cause Analysis FOIA request

to the DHS Office for CRCL. On October 22, 2021, in an email with the subject line “Re: 2022-

CRFO-00009,” CRCL “determined that if the information [American Oversight is] seeking is

available it falls under the purview of … ICE.” Therefore, CRCL stated that it had forwarded the

FOIA request to ICE.

       18.    On October 12, 2021, ICE assigned the Root Cause Analysis FOIA request

reference number 2022-ICFO-00219 and updated the status of the FOIA request to “Received.”

American Oversight has not received any further communication from ICE regarding the Root

Cause Analysis FOIA request.

                             Second Detainee Death Review FOIA

       19.    On October 12, 2021, American Oversight submitted a FOIA request to DHS and

ICE with internal tracking number DHS-21-1424, seeking the following records:




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         A complete copy of any “Detainee Death Review” reports completed by or for
         ICE Office of Professional Responsibility as part of the detainee death reviews
         for each of the following individuals who died in ICE custody.

              1. Onoval Perez-Montufa
              2. Luis Sanchez-Perez
              3. James Tomas Hill
              4. Kuah Hui Lee
              5. Jose Freddy Guillen Vega
              6. Fernando Sabonger-Garcia
              7. Cipriano Chavez Alvarez
              8. Romien Jally
              9. Anthony Jones
              10. Felipe Montes
              11. Jesse Dean
              12. Diego Fernando Gallego-Agudelo

American Oversight requested that DHS and ICE provide all responsive records from July 12,

2020, through the date the search was conducted.

       20.    On October 12, 2021, DHS assigned the Second Detainee Death Review FOIA

request reference number 2022-HQFO-00049 and updated the status of the FOIA request to

“Received.” On October 15, 2021, the DHS Privacy Office transferred the Second Detainee

Death Review FOIA request to the DHS Office for CRCL. On October 22, 2021, in an email

with the subject line “Re: 2022-CRFO-00009,” CRCL “determined that if the information

[American Oversight is] seeking is available it falls under the purview of … ICE.” Therefore,

CRCL stated that it had forwarded the FOIA request to ICE.

       21.    On October 12, 2021, ICE assigned the Second Detainee Death Review FOIA

request reference number 2022-ICFO-00220 and updated the status of the FOIA request to

“Received.” American Oversight has not received any further communication from ICE

regarding the Second Detainee Death Review FOIA request.




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                  Second Healthcare and Security Compliance Analysis FOIA

       22.     On October 12, 2021, American Oversight submitted a FOIA request to DHS and

ICE with internal tracking number DHS-21-1425, seeking the following records:

         A complete copy of any “Healthcare and Security Compliance Analysis”
         reports—or equivalent internal procedural analysis—completed by or for ICE
         Office of Professional Responsibility as part of the detainee death reviews for
         each of the following individuals who died in ICE custody.

               1. Onoval Perez-Montufa
               2. Luis Sanchez-Perez
               3. James Tomas Hill
               4. Kuah Hui Lee
               5. Jose Freddy Guillen Vega
               6. Fernando Sabonger-Garcia
               7. Cipriano Chavez Alvarez
               8. Romien Jally
               9. Anthony Jones
               10. Felipe Montes
               11. Jesse Dean
               12. Diego Fernando Gallego-Agudelo

American Oversight requested that DHS and ICE provide all responsive records from July 12,

2020, through the date the search was conducted.

       23.     On October 12, 2021, DHS assigned the Second Healthcare and Security

Compliance Analysis FOIA request reference number 2022-HQFO-00051 and updated the status

of the FOIA request to “Received.” On October 15, 2021, the DHS Privacy Office transferred the

Second Healthcare and Security Compliance Analysis FOIA request to the DHS Office for

CRCL. On October 22, 2021, in an email with the subject line “Re: 2022-CRFO-00009,” CRCL

“determined that if the information [American Oversight is] seeking is available it falls under the

purview of … ICE.” Therefore, CRCL stated that it had forwarded the FOIA request to ICE.

       24.     On October 12, 2021, ICE assigned the Second Healthcare and Security

Compliance Analysis FOIA request reference number 2022-ICFO-00221 and updated the status




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of the FOIA request to “Received.” American Oversight has not received any further

communication from ICE regarding the Second Healthcare and Security Compliance Analysis

FOIA request.

                                  Independent Autopsies FOIA

       25.      On October 12, 2021, American Oversight submitted a FOIA request to DHS and

ICE with internal tracking number DHS-21-1426, seeking the following records:

         A complete copy of any independent autopsies supplied to DHS or ICE,
         including those by county or state medical examiners, for each of the following
         individuals who died in ICE custody:

                1. Onoval Perez-Montufa
                2. Luis Sanchez-Perez
                3. James Tomas Hill
                4. Kuah Hui Lee
                5. Jose Freddy Guillen Vega
                6. Fernando Sabonger-Garcia
                7. Cipriano Chavez Alvarez
                8. Romien Jally
                9. Anthony Jones
                10. Felipe Montes
                11. Jesse Dean
                12. Diego Fernando Gallego-Agudelo

American Oversight requested that DHS and ICE provide all responsive records from July 12,

2020, through the date the search was conducted.

       26.      On October 12, 2021, DHS assigned the Independent Autopsies FOIA request

reference number 2022-HQFO-00052 and updated the status of the FOIA request to “Received.”

On October 15, 2021, the DHS Privacy Office transferred the Independent Autopsies FOIA

request to the DHS Office for CRCL. On October 22, 2021, in an email with the subject line

“Re: 2022-CRFO-00009,” CRCL “determined that if the information [American Oversight is]

seeking is available it falls under the purview of … ICE.” Therefore, CRCL stated that it had

forwarded the FOIA request to ICE.



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       27.    On October 12, 2021, ICE assigned the Independent Autopsies FOIA request

reference number 2022-ICFO-00222 and updated the status of the FOIA request to “Received.”

American Oversight has not received any further communication from ICE regarding the

Independent Autopsies FOIA request.

                                    Mortality Review FOIA

       28.    On October 12, 2021, American Oversight submitted a FOIA request to DHS and

ICE with internal tracking number DHS-21-1427, seeking the following records:

         A complete copy of any ICE Health Service Corps “Mortality Review” reports
         completed as part of the detainee death reviews for each of the following
         individuals who died in ICE custody:

              1. Onoval Perez-Montufa
              2. Luis Sanchez-Perez
              3. James Tomas Hill
              4. Kuah Hui Lee
              5. Jose Freddy Guillen Vega
              6. Fernando Sabonger-Garcia
              7. Cipriano Chavez Alvarez
              8. Romien Jally
              9. Anthony Jones
              10. Felipe Montes
              11. Jesse Dean
              12. Diego Fernando Gallego-Agudelo

American Oversight requested that DHS and ICE provide all responsive records from July 12,

2020, through the date the search was conducted.

       29.    On October 12, 2021, DHS assigned the Mortality Review FOIA request

reference number 2022-HQFO-00053 and updated the status of the FOIA request to “Received.”

On October 15, 2021, the DHS Privacy Office transferred the Mortality Review FOIA request to

the DHS Office for CRCL. On October 22, 2021, in an email with the subject line “Re: 2022-

CRFO-00009,” CRCL “determined that if the information [American Oversight is] seeking is




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available it falls under the purview of … ICE.” Therefore, CRCL stated that it had forwarded the

FOIA request to ICE.

       30.      On October 12, 2021, ICE assigned the Mortality Review FOIA request reference

number 2022-ICFO-002124 and updated the status of the FOIA request to “Received.” American

Oversight has not received any further communication from ICE regarding the Mortality Review

FOIA request.

                              Exhaustion of Administrative Remedies

       31.      As of the date of this Complaint, ICE has failed to (a) notify American Oversight

of a final determination regarding American Oversight’s FOIA requests, including the scope of

responsive records ICE intends to produce or withhold and the reasons for any withholdings; or

(b) produce the requested records or demonstrate that the requested records are lawfully exempt

from production.

       32.      Through ICE’s failure to respond to American Oversight’s FOIA requests within

the time period required by law, American Oversight has constructively exhausted its

administrative remedies and seeks immediate judicial review.

                                          COUNT I
                              Violation of FOIA, 5 U.S.C. § 552
                Failure to Conduct Adequate Searches for Responsive Records

       33.      American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

       34.      American Oversight properly requested records within the possession, custody,

and control of Defendants.

       35.      Defendants are agencies subject to FOIA, and they must therefore make

reasonable efforts to search for requested records.




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       36.       Defendants have failed to promptly review agency records for the purpose of

locating those records that are responsive to American Oversight’s FOIA requests.

       37.       Defendants’ failure to conduct an adequate search for responsive records violates

FOIA and applicable regulations.

       38.       Plaintiff American Oversight is therefore entitled to injunctive and declaratory

relief requiring Defendants to promptly make reasonable efforts to search for records responsive

to American Oversight’s FOIA requests.

                                         COUNT II
                             Violation of FOIA, 5 U.S.C. § 552
                   Wrongful Withholding of Non-Exempt Responsive Records

       39.       American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

       40.       American Oversight properly requested records within the possession, custody,

and control of Defendants.

       41.       Defendants are agencies subject to FOIA, and they must therefore release in

response to a FOIA request any non-exempt records and provide a lawful reason for withholding

any materials.

       42.       Defendants are wrongfully withholding non-exempt agency records requested by

American Oversight by failing to produce non-exempt records responsive to its FOIA requests.

       43.       Defendants are wrongfully withholding non-exempt agency records requested by

American Oversight by failing to segregate exempt information in otherwise non-exempt records

responsive to American Oversight’s FOIA requests.

       44.       Defendants’ failure to provide all non-exempt responsive records violates FOIA

and applicable regulations.




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       45.      Plaintiff American Oversight is therefore entitled to declaratory and injunctive

relief requiring Defendants to promptly produce all non-exempt records responsive to its FOIA

requests and provide indexes justifying the withholding of any responsive records withheld under

claim of exemption.

                                      REQUESTED RELIEF

WHEREFORE, American Oversight respectfully requests the Court to:

       (1) Order Defendants to conduct a search or searches reasonably calculated to uncover all

             records responsive to American Oversight’s FOIA requests;

       (2) Order Defendants to produce, within twenty days of the Court’s order, or by such

             other date as the Court deems appropriate, any and all non-exempt records responsive

             to American Oversight’s FOIA requests and indexes justifying the withholding of any

             responsive records withheld under claim of exemption;

       (3) Enjoin Defendants from continuing to withhold any and all non-exempt records

             responsive to American Oversight’s FOIA requests;

       (4) Award American Oversight the costs of this proceeding, including reasonable

             attorneys’ fees and other litigation costs reasonably incurred in this action, pursuant

             to 5 U.S.C. § 552(a)(4)(E); and

       (5) Grant American Oversight such other relief as the Court deems just and proper.




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Dated: November 16, 2021              Respectfully submitted,

                                      /s/ Taylor Stoneman
                                      Taylor Stoneman
                                      D.C. Bar No. 888155721
                                      AMERICAN OVERSIGHT
                                      1030 15th Street NW, B255
                                      Washington, DC 20005
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                                      Counsel for Plaintiff




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